OPINION — AG — ** GOVERNOR — JURISDICTION — AUTHORITY ** THE GOVERNOR OF OKLAHOMA IS NOT AUTHORIZED TO EXPEND SAID FUNDS IN CARRYING OUT A PROJECT IN SAID TELEGRAM, TO WIT: IN THE STATE OF OKLAHOMA "JOINING OTHER STATES AND THE UNITED STATES GOVERNMENT IN CONTRACTING TO SEED CLOUDS AND STORMS IN THE DROUGHT DISASTER REGION WITH SILVER IODIDE IN AN ATTEMPT TO INCREASE RAINFALL AND RELIEVE THE DROUGHT". (GOVERNOR CONTINGENCY AND EMERGENCY FUND) CITE: 62 O.S. 139.27 [62-139.27], 62 O.S. 139.23 [62-139.23] (FRED HANSEN)